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                                                    jf
                                  No. 15- 1230C
                             (Filed: January 8, 2015)

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INEZ VELEZ,

                Plaintiff,                                         FILED
v.                                                                JAN - 8.2016
                                                                 U.S. COURT OF
THE UNITED STATES,                                             FEDERAL CLAIMS

                Defendant.

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                                    ORDER

        Plaintiff's complaint seeks $280 million for injuries suffered throughout
her life as a result of alleged negligent medical care provided while she was
in hospitals and mental care facilities both in New York and Puerto Rico. She
also alleges that "the state" failed to protect her while in custody and that "the
state" had covered up a sexual assault that she experienced in 19 5 3. Defendant
moved to dismiss for lack of jurisdiction. Having apparently misapprehended
the effect of such a motion, plaintiff subsequently sent a packet of materials,
the aim of which is expressing plaintiff's displeasure at having had her case
dismissed. The clerk's office did not file those documents because of a
number of procedural defects.

      Although we are cognizant of plaintiff's pro se status and apparent
confusion, we need not wait for a proper response to the motion to dismiss
because Rule 13(h) of the Rules of the United States Court of Federal Claims
compels us to dismiss the complaint sua sponte.

        28 U.S.C. § 1491 gives this courtjurisdiction to "render judgment upon
any claim against the United States founded either upon the Constitution, or
any Act of Congress or any regulation of an executive department, or upon any
express or implied contract with the United States ... in cases not sounding in
tort." The most relevant portion of this to plaintiff's complaint is the exclusion




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of tort claims from our jurisdiction. Although the complaint is largely devoid
of any factual allegations of how plaintiff was harmed, it is clear, to the extent
that she has alleged any legally cognizable claims, they are grounded in tort,
that is to say that her claims involve the intentional or negligent infliction of
harm upon her by third parties. This is precisely what our jurisdictional statute
excludes from our review.

       Accordingly, the following is ordered:

       1. Defendant's motion to dismiss is denied as moot.

       2. The clerk's office is directed to return the documents received on
       January 4, 2016, to plaintiff unfiled.

       3. The clerk is directed to dismiss the complaint for lack ofjurisdiction
       and enter judgment accordingly.




                                            Judge
